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                                                                                        AT ROANOKE,VA
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IJNITED STATES OF AM ERICA                 )        C rim inalAction N o.5:12C R 00014-5
                                           )
V.                                         )        M EM O R AN DU M O PIN ION
                                           )
SA N TO N IO LEN O RD M INU S              )        By:M ichaelF.U rbansld
      D efendant.                          )        United StatesDistrictJudge

        Santonio Lenord M inus,a federalinm ate proceeding pro K ,hasfiled am otion to vacate,
                                                               .




setaside,orcorrecthissentencepursuantto28U.S.C.j2255.Minusallegesthathiscotmsel
told him thathe qualified asacareeroffender,promptinghisdecision to proceedto trial.By

orderentered Jtme 8,2016,thecourtconcludedthatitwastmableto resolvetheissueon the

briefsand ordered an evidentiary hearing. Following thathearing,and afterreviewing therecord

andbriefsfrom M inusandthegovernm ent,thecourtconcludesthatM inushasnotstated any

meritoriousclaimsforrelieftmderj2255andthatthegovernment'smotiontodismissmustbe
granted.

                                               1.

        OnApril19,2012,afederalgrandjuryindictedM inusandco-defendantsina29-count
indictm ent.M inuswascharged with conspidng to distribute and manufacture 280 grnmsor

moreofa mixtt
            zreand substancecontaining adetectablenm otmtofcocaine base,in violation of

21U.S.C.jj841(a)(1)and841(b)(1)(A)andsix countsofdistributionofcocainebase,in
violationof21U.S.C.jj841(a)(1)and 841(b)(1)(C)..
                                               'l-hecourtappointedcounselforM inus.
During the com se ofrepresentation,cotm seland the governm entnegotiated a plea agreem entin

which M inuswotlld agreetoplead guiltyto the conspiracy chargeand onecotmtofdistribution

ofcocaineandthegovernm entwould agreeto dismisstherem aining charges.Theplea

agreem entneitherstipulated aguidelinerangenorsuggested thatM inuswasa careeroffendzr.
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Resp.j2255M ot.Ex.A.at7,ECFNo.601-1.Minusrejectedthepleaofferandproceededto
trial.Thejuryreturnedaguiltyverdicton theconspiracychargeandfiveofthesix distdbution
charges.

       Priortosentencing,aPresentenceInvestigationReport(çTSR'')waspreparedand
concluded thatM inus'totaloffense levelwas34 and hiscrim inalhistory category wasV ,

resulting in an advisory guidelinerangeof235 to 293m onths'incarceration.Cotmselfiled a

sentencingm emorandllm requesting adownward departtlref'
                                                       rom hissentencing rangeto Eçten

yearsorm ore''based on M inus'relatively m inorrolein the conspiracy and them orelimited

drug weigh forwhich hewasdirectly responsible. Sent.M em .at13,ECF N o.498.

       Thecourtheld a sentencinghearing on M ay 22,2013,and adopted thePSR.Thecourt

varied downwazdbecauseM inusplayed a lesserrolethan som eofhisco-defendantsin the

conspiracy and becausehehad no priordl'ug convictions,and sentenced him to 180 months.

Sent.H r'g Tr.at52,ECF N o.550.

       M inusappealed asserting thatthe evidence wasinsufficientto establish eitherhisguiltor

hisdnzg-weightresponsibility.The Fourth CircuitCourtofAppealsaffinned llisconviction and

sentence.M inusfiledtheinstantj2255motion,argtzingthathistrialcounselprovided
ineffectiveassistancebecauseshetold him thathe qualified asacareeroffender,which

prompted him to go to trial. In fact,hedid notqualify asacareeroffenderandhearguesthat

hadheknownthat,hewouldhaveacceptedaguiltyplea.Minusattachedanaffidavittohisj
2255 m otion,in w hich he avow sthathe lenrned thathe w as nota career offenderonly post-

conviction,afterreviewinghisPSR.Aff.!8,ECFNo.580-2.Thegovemmentresponded,and
based on an affidavitfrom M inus'counsel,argued thatcounseltold him w ellbefore trialthathe

did notqualify asa careeroffender.
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       On August19,2016,thecourtheld an evidentiary hearing to resolvethisfactualdispute.

Atthehearing,M inustestisedthathiscounseltold him ,early in theproceedings,thathewasa

careeroffenderbutdid notexplain why shebelieved hequalised asacareeroffenderorwhat

effectbeing acareeroffenderwould have on hissentence.Hereferenced aJtme29,2012 letter

thatcounselsentto him shortly aftershebegan herrepresentation ofM inusthatstated çç1have

also indicated toyou thatwith yottrcrim inalrecord,itislikelythatyou willqualifyfora career

offenderenhancementofyoursentencing guideline nmount,andthiscareeroffender

classitkationwillsubstantiallyincreasethelengthofyourprisonsentence.''j2255Ex.3at4,
ECF No.580-3.He also stated thatcounselneverreviewedhisPSR with him and only at

sentencing didhefind outthathisguidelinerangewas235 to293 m onths.In addition,he

testised thatatthedate ofhissentencing hestillbelieved thathe qualifed asa careeroffender.

M inusclaim edthatatsentencing,cotmseltoldhim forthefirsttim ethatthegovernmenthad

proposed apleaofferoften yearsandthathadhelcnown aboutthatpleaoffer,hewouldhave

acceptedit.

       M inus'trialcounselalso testifed.Shestated thatin an abtmdance ofcaution early in the

case,she senttheletterto M inusinfonning him thathewould çtlikely''qualify asacareer

offenderbased on information thatshereceived from the government. Butshesoon realized that

hedid notqualify asacareeroffenderand toldhim so duringthefirstthreeorfotlrm eetingswith

him . Cotmseltestifiedthatby July 20,2012,thecareeroffenderenhancem entwastçoffthe

table''and she did notm ention itin any furthercorrespondence w ith M inusbecause itw as a non-

issue and he knew thatthe enhancem entdid notapply to him . Cotm selalso testified thatshe

reviewed thePSR with M inuspriorto sentencing. She stated thatshe neverreceived a proposed

ten-yearplea agreem entfrom the governm ent. Shereceived onem ittenpleaagreem ent,which
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she conveyed to M inus,buthehad nointerestin accepting itorpleading guilty atall. Counsel

testisedthatin negotiatingthepleaagreem ent,sherequested an extension oftimeto respondto

itand confirm ed with thegovernmentatthattim ethatM inuswasnotacareeroffender. In

responseto questioning by thecourt,theAssistantUnited StatesAttorney noted thathehadno

recollection ofaten-yearplea offer.Counseltestified thatatsentencing shetold M inusthatshe

hoped thecourtwould downwardly departand givehim between aten and fifteen yearsentence.

                                                Il.

       Tostateaviableclaim forreliefunderj2255,apetitionermustprove:(1)thathis
sentencewasttimposedinviolationoftheConstimtionorlawsoftheUrlitedStatesi''(2)that
itthecotu'twaswithoutjtuisdictiontoimposesuch asentencei''or(3)thattithesentencewasin
excessofthemaximtlm authorizedbylaw,orisotherwisesubjecttocollateralattack.''28
U.S.C.j2255(*.M inusbearsthebtlrden ofprovinggrotmdsforacollateralattackbya
preponderanceoftheevidence.Jacobsv.UnitedStates,350F.2d571,574 (4thCir.1965).
       Crim inaldefendantshave aSixth Amendm entrightto effective legalassistance.

Stricklandv.W ashington,466U.S.668,687(1984).Thepropervehicleforadefendanttoraise
an ineffectiveassistanceofcounselclaim isbyslingaj2255motion.UnitedStatesv.Baptiste.
596F.3d214,216n.1(4th Cir.2010).However,ineffectiveassistanceclaimsazenotlightly
granted;Elltlhebenchmarkforjudging anyclaim ofineffectivenessmustbewhethercotmsel's
conductsotmdenninedtheproperfunctioningoftheadversarialprocessthattheEproceedingq
cnnnotbereliedonashavingproducedajustresult.''Strickland,466U.S.at686.Accordingly,
in orderto establish aviable claim ofineffective assistanceofcotmsel,adefendantm ustsatisfy a

two-pronganalysisshowingboththatcotmsel'sperformancefellbelow atlobjectivestandardof
reasonablenessandestablishingprejudiceduetocounsel'sallegeddeficientperformance.J#-uat
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687.W hen consideringthereasonablenessprong ofStrickland,courtsapply a ççstrong

presumption thatcounsel'sconductfallswithin thewiderangeofreasonableprofessional

assistance.''1d.at689;Grayv.Branker,529F.3d220,228-29(4th Cir.2008).Counsel's
performanceisjudgedGçonthefactsoftheparticula.
                                             rcase,''andassessedçtfrom cotmsel's
perspectiveatthetim e.''Strickland,466 U.S.at689,690.

       TosatisfytheprejudiceprongofStrickland,adefendantmustshow thatthereisa
reasonableprobability that,butforcotmsel'stmprofessionalerror,the outcom eoftheproceeding
                                               !

would havebeen different. 1d.at694.C1A reasonableprobability isaprobability suftk ientto

tmderm ine confidencein theoutcome.'' 1d.M inus'claim sofineffective assistance ofcounsel

do notsatisfy Stricldand'sstringentrequirem ents.

       M inusfirstassertsthathistrialcotmselprovidedineffective assistancebecause counsel

told him thathequalised asacareeroffenderwhen,in fact,hedid notso qualify.Hearguesthat

hadheknown thathewasnotacareeroffender,hewould havepleaded guilty instead ofgoing to

trial.D efendantsareentitled to effectiveassistanceofcotmselthroughoutpre-trialproceedings,

lcludingpleanegotiations.Padillav.Kentucky,559U.S.356,364(2010).Counselprovides
effectiveassistanceby presenting a defendantwith inform ation suftk ientforthedefendantto

m akea tlvoluntary and intelligentchoicenm ong alternativecoursesofaction.'' Hillv.Lockhart,

474U.S.52,56(1985)(internalquotation marksomitted).Accordingly,colmselhasa
responsibilityto investigateand inform adefendantabouthispossiblesentence exposttresothat

he can m ake an inform ed decision aboutw hetherto plead guilty. M anlev v.U nited States,588

F.2d79,81(4thCir.1978).
       Thecourtdoesnotfind credibleM inus'testim ony attheevidentiary headng that

throughoutthepretdal,trialand sentencing proceedings,counselcontinued to adviseM inusthat
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hewassubjecttoacareeroffenderenhancement.Thecourtfindsmoreplausiblecounsel's
version ofevents:thatshetold M inusearly in thepre-trialproceedingsthathewasnotacareer

offender. Thistestim ony isbolstered by the record. The writlen proposed plea agreem entfrom

thegovernm entdid notsuggestthatM inuswould beconsidered a careeroffender.M oreover,

counsel'stim e1og supportshertestimony thatin negotiating thepleaagreement,sheconfirm ed

thatM inusdidnotqualifyasacareeroffender.Evid.l'Ir'gEx.5at2,ECFNo665(notingthat
cotmseltalkedtotheAssistantUnitedStatesAttom eyEtrepleadeadline,careeroff'').Thecourt
credit'scotm sel'stestimony thatsheneverwrotea lettertoM inustelling him thathedid not

qualify asa careeroffenderbecause shetold him inperson and by July 20,2012,itwasno

longeran issuein thecaseasthegovernmenthad recognized thatthedesignation didnotapply

to M inus.

       M inusalsoarguesthatcotmselneverrelayedto him apotentialpleaagreement9om the

governm entprovidingforaten-yearsentence. Hetestified attheevidentiary hearingthat

colm seltold him ofthepleaonly atsentencing when itwastoo late forhim to acceptit,butthat

hadheknown thepleaofferexisted,hewouldhaveaccepted it.Cotmselmustirlfonn defendants

ofpleaoffersfrom thegovernment.SeeMissouriv.Frye,132S.Ct.1399,1408(2012)(çç-fhis
Courtnow holdsthat,as a generalrule,defense counselhasthe duty to com m llnicate theterm s

ofaformalofferto acceptapleaon termsand conditionsthatmay resultin a lessersentence,a

convictiononlessercharges,orboth).lfcounselfailstocommtmicateapleaoffer,thismay
constitute ineffective assistance ofcotm sel. ld.

       Thecourt,how ever,doesnotfind credibleM inus'testimony thatcotmselfailed to inform

him ofaten-yearplea agreem entfrom the government. Thereisnoevidencethatsuch aplea

agreem enteverexisted.Both thegovernm entandcotmselstated attheevidentiary hearing thata


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ten-yearplea agreem entwasnotoffered.N onetheless,thecourtasked the governmentand

cotm selto review theirfilesfollowing thehearing,to determinewhethertherewasany evidence

ofapossibleten-yearpleaagreement,and both haveresponded thatthey have foundnone.

Resp.to CourtOrderat1,ECF No.667.ItispossiblethatM inustook cotmsel'sstatem entat

sentencingthatshew asrequesting thatthecourtdownwardly departand sentence him toten or

tm een years'incarceration as apotentialplea offerfrom the governm ent. In any case,the court

findsthattherewasno ten-yearpleaofferprovided toM inusbythe government. Accordingly,

cotmselwasnotrem issin failing to relay thisnon-existentofferto M inus. Strickland,466 U.S.

at687(requiringforan ineffectiveassistanceofcotmselclaim thatçGthedefendantmustshow
thatcotmsel'sperfonnancewasdeficienf').
       Finally,M inusassertsthatcounselfailed to review w ith him llisPSR pdorto sentencing.

Beforeimposing asentence,acourtmustlçverify thatthedefendantand thedefendant'scotmsel

havereadanddiscussedthepresentencereport.''Fed.R.Crim.P.32(c)(3)(A);UnitedStatesv.
Loclchart,58F.3d 86,88(4thCir.1995).Atsentencing,thecourtaskedcotmselwhethershe
hadhad an opporttmity to review thePSR,and she answeredthatshehad. Sent.Hr'g.Tr.at3,

ECF No.550.W hen M inuswasgiventheopportunity to addressthe sentencing court,henever

indicated thathehad notreviewed hisPSR;insteadheasked the courtto sentencehim to a low

sentencebecausehehad notplayedamajorroleintheconspiracy.Id.at43-46.lnaddition,at
theevidentiary heming,counseltestitied thatshem etwith M inusto discussthe PSR aswellas

possibleobjections.Cotmsel'stime1ogsupportshertestimonyandindicatesthatshemetwith
M inusonApril22,2013,anddiscussedthePSR andpossibleobjectionswithhim.Evid.Hr'g
Ex.5 at8,ECF N o 665. A ccordingly,the courtconcludesthatcounseldid review the PSR w ith

M inus.
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      BecausethecourtcreditsM inus'counsel'stestimonythatshe(1)toldllim thathedidnot
qualify asacareeroffenderearlyinthepre-trialproceedings,(2)discussedwithhim theonly
potentialpleaagreementprovidedbythegovernmentand(3)reviewedthePSR withhim,M inus
cnnnotestablish eitherthatcotmselprovideddeticientperfonnanceorthathewasprejudicedby
herconduct. Stricldand,466U .S.at687.

                                             111.



      Forthereasonsstated herein,thecout'twillgrantthegovernment'sm otion to dismiss.

An appropriateorderwillbeenteredthisday.BecauseM inushasfailedto makeasubstantial

showingofthedenialofaconstitutionalrightasrequiredby28U.S.C.j2253(c),acertificateof
appealability willbe denied.



       ENTER :This             day ofOctober,2016.

                                            /+f'm 4A ,J /.W                                   '
                                                     U nited StatesD istrictJudge




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